                      Case 4:07-cr-00317-JM Document 943 Filed 03/27/14 Page 1 of 2
A0245D       (Rev. 09/11) Judgment in a Criminal Case for Revocations
             Sheet 1



                                     UNITED STATES DISTRICT COURT       MAR 2 7 2014
                                          EASTERN DISTRICT OF ARKANSA ~:ME~ERK
          UNITED STATES OF AMERICA                                        Judgment in a Criminal Case                               DEP C.LERK
                             v.                                           (For Revocation of Probation or Supervised Release)
                  BRANDY DENNIS

                                                                          Case No. 4:07cr00317-10 JM
                                                                          USM No. 25363-009
                                                                           Kim Driggers
                                                                                                   Defendant's Attorney
THE DEFENDANT:
~ admitted guilt to violation of condition(s)           - - - - - - - - - - - - o f the term of supervision.
0   was found in violation of condition(s)             _S_t_a_n_d_a_rd_a_n_d_S..:..p_e_c_ia_l__ after denial of guilt.
The defendant is adjudicated guilty of these violations:


Violation Number                                           Nature of Violation                                    Violation Ended
Standard 2                        Failure to submit monthly reports                                            01/01/2014
Special                           Failure to refrain from use of a controlled substance                        02/03/2014




       The defendant is sentenced as provided in pages 2 through ---=2=--- of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
0   The defendant has not violated condition(s) - - - - - - - a n d is discharged as to such violation(s) condition.

          It is ordered that the defendant must notify the United States attorney for this district within 30 days of any
change of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are
fully paid. If ordered to pay restitution, the defendant must notify the court and United States attorney of material changes m
economic circumstances.

Last Four Digits of Defendant's Soc. Sec. No.: 7575

Defendant's Year ofBirth:            1986

City and State of Defendant's Residence:                                                            Signature of Judge
Cave City, Arkansas
                                                                           JAMES M. MO                                   U.S. District Judge
                                                                                                  Name and Title of Judge

                                                                           03/28/2014
                                                                                                           Date
                          Case 4:07-cr-00317-JM Document 943 Filed 03/27/14 Page 2 of 2
  AO 245D       (Rev. 09/11) Judgment in a Criminal Case for Revocations
                Sheet 2- Imprisonment

                                                                                                   Judgment- Page _-=:2....__ of   2
  DEFENDANT: BRANDY DENNIS
  CASE NUMBER: 4:07cr00317-10 JM


                                                                   IMPRISONMENT

           The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a total
  total term of :
SEVEN (7) MONTHS




     t/ The court makes the following recommendations to the Bureau of Prisons:
The defendant shall participate in nonresidential substance abuse treatment.
The defendant shall serve her term of imprisonment in the nearest facility to central Arkansas.


     D The defendant is remanded to the custody of the United States Marshal.

     D      The defendant shall surrender to the United States Marshal for this district:
            D    at    --------- D                  a.m.             D     p.m.    on
            D    as notified by the United States Marshal.

     D      The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
            D     before 2 p.m. on
            D     as notified by the United States Marshal.
            D     as notified by the Probation or Pretrial Services Office.

                                                                           RETURN

  I have executed this judgment as follows:




            Defendant delivered on                                                      to

  at - - - - - - - - - - - - - - with a certified copy of this judgment.




                                                                                                UNITED STATES MARSHAL


                                                                                  By
                                                                                             DEPUTY UNITED STATES MARSHAL
